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‘ BURTON & DAVIS, LLP_ _

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MICHAEL R. BURTON*
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*.»'Uso Ari'mr'.rzer.f in fifirioi'.'.‘ _. _

 

February 22, 2005
VIA HANI) DELIVERY

Clerl< of Courts
U.S. District Court for

the Eastern District of Wisconsin
Federal Courthouse
517 East Wisconsin Avenue
Milwaukee, Wisconsin 53202

Dear Clerk: RE: silbert Patterson dfbfa World Wrestft`ng Assoc.,
Superstars of Wrest£ing, Inc. v. Wor£d Wrestfing
Enrertaz`nment, Inc. and Gooa' Humor Corporart'on,
dfb/a Good Hnmor Br€yers Ice Crenm.
Case No. 03-C-03'74

I present for filing an original and one copy of Defendants’ Second Amended Answer
and Counterclaim, With a Certif'lcate of Service, along With two additional copiesl Please file
this pleading, file-stamp the extra copies, and return them to the waiting messenger.

I also hereby submit an original and one copy of a Protective Order, with attached
Exhibit A, “Contidentiality Agreement. ” I have not included additional copies of the Protective
Order, as it should not be filed until the Court has executed it, so no file-stamped copies should
be returned Please present the Protective Order to the Court for execution By copy of this
letter, mailed on the same day as the date hereof, l am providing a copy of the Protective Order
to plaintiff`s counsel.

The referenced pleadings are being filed and submitted in conformity with the Court’s
February 8, 2005 Decision and Order. The Second Amended Counterclaim has been amended
by removing the phrase“t'nrer alia” from paragraph 48 of the counterclaim ln order to honor
the spirit, as well as the letter, of the Coun’s Order, defendants have also removed the phrase
“among other things” from each of the sub-paragraphs Within paragraph 48 (that iS, a - g). The
only other modification made to the Second Arnended Counterclaim was to renumher the
counts, which, as the Court pointed out in its Decision and Order, had previously skipped
Count Three.

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The Protective Order has been modified, consistent with the Court’s February 8, 2005
Order, to reflect the fact that it is not a stipulated agreement, but rather an Order of the Court.
The substantive terms of the confidentiality obligations imposed by the Order have not
been modified

Your attention to this matter is greatly appreciated

Sincerely,

Burton & Davis, LLP

 

Encs.

cc Atty. Charles Drake Boutwell (via mail; wl enc.)
Atty. Curtis B. Krasik (via mail; wl enc.)

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